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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                      MISSOULA DIVISION
SAMANTHA ALARIO, et. al.,                           Lead Case No.
                                                   CV-23-56-M-DWM
                   Plaintiffs,
                                                   Member Case No.
and                                                CV 23-61-M-DWM

TIKTOK INC.,                                    MEMORANDUM IN
                                                 OPPOSITION TO
              Consolidated Plaintiff,           PLAINTIFFS’ AND
                                                 CONSOLIDATED
      v.                                      PLAINTIFF’S MOTIONS
                                               FOR PRELIMINARY
AUSTIN KNUDSEN, in his official ca-               INJUNCTION
pacity as Attorney General of the State of
Montana,

                   Defendant.
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                             INTRODUCTION

     State and federal officials have sounded alarms over TikTok for

years. Despite growing unease with the online platform, TikTok contin-

ues to operate across the United States, including in Montana. Montana

Senate Bill 419 (SB419) exercises Montana’s consumer-protection power

to stop a host of data-privacy and related harms by prohibiting TikTok

from operating in Montana. SB419 is a valid exercise of the Legislature’s

authority, so Plaintiffs’ motion to preliminarily enjoin it must be denied.

                              BACKGROUND

     A. “The States traditionally have had great latitude under their po-

lice powers to legislate as to the protection of the lives, limbs, health,

comfort, and quiet of all persons.” Metro. Life Ins. Co. v. Massachusetts,

471 U.S. 724, 756 (1985) (cleaned up). Montana is no exception. Vast

parts of the Montana Code protect Montanans from unscrupulous actors.

Take the Montana Unfair Trade Practices and Consumer Protection Act.

It bans all “[u]nfair methods of competition and unfair or deceptive acts

or practices in the conduct of any trade or commerce.” M.C.A. §30-14-

103. Neighboring sections prevent unfair competition in sales and pur-

chasing and proscribe selling goods at less than their cost. See id. §§30-



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14-208 to -210. Still others regulate interstate actors in industries sub-

ject to the United States Code and to potentially conflicting laws in other

states. See, e.g., Montana Telemarketing Registration and Fraud Pre-

vention Act, codified at M.C.A. §§30-14-1401 to 1414. Montana even bans

certain business activities altogether; as one example, debt settlement

providers “may not” “make loans or offer credit” in Montana, despite

those activities’ expressive content. Id. §30-14-2103(1)(c); see Aargon

Agency, Inc. v. O’Laughlin, 2:21-cv-1202, 2022 WL 377784, at *18 (D.

Nev. Feb. 7, 2022) (holding that states have a “substantial interest in

protecting [their] citizens” by regulating debt collection).

     B. Given the Legislature’s interest in protecting Montanans from

potentially harmful actors and practices, it’s no surprise TikTok caught

the Legislature’s attention. Last year, a tidal wave of news stories re-

vealed many ways that TikTok could harm Montanans. One report said

that “leaked audio from more than 80 internal TikTok meetings” estab-

lished that “China-based employees of ByteDance”—TikTok’s “parent

company,” which “is located” in China—“have repeatedly accessed




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nonpublic data about US TikTok users.”1 “‘Everything is seen in China,’

said a member of TikTok’s Trust and Safety department in a September

2021 meeting,” and in another meeting, “a director referred to one Bei-

jing-based engineer as a ‘Master Admin’ who ‘has access to everything.’” 2

A third reported that “[w]hen TikTok users enter a website through a

link on the app, TikTok inserts code that can monitor much of their ac-

tivity on those outside websites, including their keystrokes and whatever

they tap on the page”—so “TikTok [could] capture a user’s credit card

information or password.”3 The researcher who discovered that code de-

scribed this as “‘a non-trivial engineering task’” that “‘does not happen by

mistake.’”4 Late last year, two articles reported how ByteDance accessed

TikTok user data from two U.S. journalists to try to identify the source

of a leak about internal TikTok information. 5




1 Emily Baker-White, Leaked Audio from 80 Internal TikTok Meetings Shows That

US User Data Has Been Repeatedly Accessed From China, BuzzfeedNews (June 17,
2022), perma.cc/LAM2-PL6K.
2 Id.
3 Richard Nieva, TikTok’s In-App Browser Includes Code That Can Monitor Your Key-

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4 Id.
5 Emily Baker-White, Exclusive: TikTok Spied on Forbes Journalists, Forbes (Dec. 22,

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TikTok user data of two journalists, Reuters (Dec. 22, 2022), perma.cc/YH2U-RLA8.

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      Things got worse for TikTok this year. In March, a whistleblower

told a U.S. Senator that “TikTok’s access controls on U.S. user data are

much weaker than the company says” and that “TikTok overstates its

separation from its China-based owner ByteDance, relies on proprietary

Chinese software that could have backdoors, and uses tools that allow

employees to easily toggle between U.S. and Chinese user data.” 6 A sec-

ond whistleblower told congressional investigators and the Washington

Post that TikTok’s “plan for protecting United States user data is deeply

flawed,” that “issues could leave data from TikTok’s more than 100 mil-

lion U.S. users exposed to China-based employees of its parent company

ByteDance,” and “that a truly leakproof arrangement for Americans’ data

would require a ‘complete re-engineering’ of how TikTok is run.” 7

      Two months later, the former head of engineering for ByteDance in

the U.S. sued ByteDance; he alleged that “ByteDance offices in Beijing

had a special unit of [C.C.P.] members sometimes referred to as the Com-

mittee,” which “‘maintained supreme access to all the company data,



6 Ashley Gold, Exclusive: Senator’s TikTok whistleblower alleges data abuses, Axios

(Mar. 8, 2023), https://www.axios.com/2023/03/08/senators-tiktok-whistleblower-al-
leges-data-abuses.
7 Drew Harwell, A former TikTok employee tells Congress the app is lying Chinese

spying, The Washington Post (Mar. 10, 2023), perma.cc/997H-9GLY.

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even data stored in the United States.’” 8 Indeed, “[d]uring his tenure at

the company, he said, certain engineers had ‘backdoor’ access to user

data.”9 A few weeks later, the New York Times reported on TikTok’s “in-

ternal messaging and collaboration tool called Lark”—a tool “used every

day by thousands of employees of the app’s Chinese owner, ByteDance,

including by those in China”—that “has been used for handling individ-

ual TikTok account issues and sharing documents that contain person-

ally identifiable information since at least 2019.” 10 The director of Stan-

ford University’s Internet Observatory said “‘Lark shows you that all the

back-end processes are overseen by ByteDance.’” 11 Most recently, the

former ByteDance executive suing ByteDance alleged that “some mem-

bers of the ruling Communist Party” had “access to U.S. user data”

through a “‘superuser’ credential—also known as a god credential—that

enabled a special committee of C.C.P. members stationed at the company




8 Thomas Fuller & Sapna Maheshwari, Ex-ByteDance Executive Accuses Company of

'Lawlessness," N.Y. Times (May 12, 2023), perma.cc/DE96-KD7G.
9 Id.
10 Sapna Maheshwari & Ryan Mac, Driver's Licenses, Addresses, Photos: Inside How

TikTok Shares User Data, The New York Times (May 24, 2023), perma.cc/2KBM-
WSAZ.
11 Id.



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to view all data collected by ByteDance including those of U.S. users.”12

He alleged that “[t]he credential acted as a ‘backdoor to any barrier

ByteDance had supposedly installed to protected data from the C.C.P.’s

surveillance.” 13

      The Legislature reasonably viewed all this reporting as confirming

“the reality that Chinese companies are subject to the whims of the au-

thoritarian [C.C.P.],” raising the “risk” that the Chinese “government

could force ByteDance to collect and turn over information” on Americans

“as a form of ‘data espionage.’” Leaked Audio, supra. That risk isn’t spec-

ulative; the Secretary of Commerce designated the “People’s Republic of

China” a “foreign adversary” after determining that China has “engaged

in a long-term pattern or serious instances of conduct significantly ad-

verse to the national security of the United States or security and safety

of United States persons.” 15 C.F.R. §7.4(a)(1).

      C. Given that tsunami of reporting, Montana enacted SB419, which

prohibits TikTok from operating within Montana and mobile application




12 Zen Soo, Former exec at TikTok's parent company says Communist Party members

had a 'god credential' that let them access Americans' data, Business Insider (June 7,
2023), perma.cc/5QXY-5GBE.
13 Id.



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stores from making TikTok’s app downloadable in Montana. SB419,

2023 Leg., 68th Sess. §1 (Mont. 2023).

     TikTok and a group of its users—funded by TikTok—now challenge

SB419. Sapna Maheshwari, After Montana Banned TikTok, Users Sued.

TikTok    Is   Footing   Their   Bill,       N.Y.   Times   (June   27,   2023),

perma.cc/R2EK-69PX. Both TikTok and its users have moved to prelimi-

narily enjoin SB419.

                          STANDARD OF REVIEW

     A preliminary injunction is a drastic remedy “never awarded as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). This

extraordinary remedy “does not follow as a matter of course from a plain-

tiff’s showing of a likelihood of success on the merits.” Benisek v. Lamone,

138 S. Ct. 1942, 1943-44 (2018). A preliminary injunction is permissible

only when Plaintiffs carry their heavy burden of showing that (1) they

have a substantial likelihood of success on the merits; (2) they will suffer

irreparable injury without one; (3) their threatened injury outweighs

whatever harm the proposed injunction would cause their opponent; and

(4) if issued, the injunction is in the public’s interest. Winter, 555 U.S. at

20. While the Ninth Circuit applies the “serious questions” test, it does



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so only when “the balance of hardships tips sharply in the plaintiff’s fa-

vor.” hiQ v. LinkedIn, 31 F.4th 1180, 1188 (9th Cir. 2022) (emphasis

added). That is, “[a]ll four elements must be satisfied,” id., by “clear and

convincing evidence,” Friends of the Wild Swan v. Weber, 955 F.Supp.2d

1191 (D. Mont. 2013).

                               ARGUMENT

I. Plaintiffs Are Unlikely to Succeed on the Merits.

     A. SB419 Is a Valid Exercise of Montana’s Police
        Power.

     The First Amendment leaves Montana “no power to restrict expres-

sion because of its message, its ideas, its subject matter, or its content.”

Police Dep’t of Chi. v. Mosley, 408 U.S. 92, 95 (1972). But SB419 doesn’t

prohibit certain messages, ideas, subject matter, or content. It prohibits

the use of a product in Montana.

     Because Plaintiffs bring a facial challenge, they bear the burden of

“establish[ing] that no set of circumstances exists under which the [law]

would be valid,” United States v. Salerno, 481 U.S. 739, 745 (1987), or

that “a substantial number of its applications are unconstitutional,

judged in relation to the statute’s plainly legitimate sweep,” United




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States v. Stevens, 559 U.S. 460, 473 (2010). Plaintiffs do not, and cannot,

make that showing.

           1. SB419 permissibly exercises Montana’s police
              power to ban TikTok’s harmful conduct.

     Plaintiffs’ arguments rest on a “fallacy” the Supreme Court has re-

jected: “seeking to use the First Amendment as a cloak for obviously un-

lawful … conduct by … attributing protected expressive attributes to

that conduct.” Arcara v. Cloud Books, Inc., 478 U.S. 697, 705 (1986). In

Arcara, an adult bookstore became a site of prostitution and other public

sex acts, yet the Court concluded that the First Amendment’s protection

for selling books didn’t shield the bookstore from liability for violating

prostitution laws: “the First Amendment is not implicated by the enforce-

ment of a public health regulation of general application against the

physical premises in which respondents happen to sell books.” Id. at 707.

That is, First Amendment jurisprudence “has no relevance to a statute

directed at imposing sanctions on nonexpressive activity,” and

“[b]ookselling in an establishment used for prostitution does not confer

First Amendment coverage to defeat a valid statute aimed at penalizing

and terminating illegal uses of premises.” Id.; see also Talk of the Town

v. Dep’t of Fin. & Bus. Servs., 343 F.3d 1063, 1069 (9th Cir. 2003).


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     So it is here. Montana’s police power comfortably lets it regulate

(up to the point of banning) products or practices that, in Montana’s judg-

ment, impose unjustifiable consumer harms. SB419 does just that: it

bans TikTok because of harms inseparable from TikTok’s data-harvest-

ing practices and ownership by a hostile foreign government—facts

unique to TikTok among social media apps. As a condition of using it,

TikTok captures reams of personal, private data from every Montana

TikTok user. Then C.C.P. members embedded in ByteDance can use a

“god credential” to access those data at any time—without asking TikTok.

See supra nn.12-13. No other app conditions its use on making Montan-

ans’ digital privacy subject to data harvesting with at-will C.C.P. access;

in this respect, TikTok stands alone. And no protected expressive attrib-

utes can be attributed to a hostile foreign government’s massive data-

harvesting efforts intentionally directed at Montanans; that’s the “non-

expressive activity” SB419 targets. Id. And that’s true even though Tik-

Tok harvests Montanans’ data while transmitting expressive videos to

them. Just as books didn’t override prostitution laws in Arcara, so Tik-

Tok’s short-form videos (from TikTok itself or any other user) “do[] not

confer First Amendment coverage to defeat a valid statute aimed at”



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protecting Montanans from forced data-harvesting subject to at-will

C.C.P. access. Arcara, 478 U.S. at 707.

     Were it otherwise, Montana would be powerless to ban a cancer-

causing radio merely because that radio also transmitted protected

speech, or to ban sports-betting apps merely because those apps also

shared informative videos teaching their users the intricacies of sports

gambling. The targeted harms—preventing cancer, illegal gambling, or

data-gathering by a hostile foreign state—are inherently nonexpressive

and thus subject to Montana’s plenary police-power regulations. Over-

laying them with expressive conduct—radio communications or instruc-

tive videos—doesn’t change that calculus. See id. at 705-07.

           2. If SB419 implicates First Amendment rights, it
              passes scrutiny under O’Brien.

     Even if SB419 implicates the First Amendment, the Supreme Court

has rejected the view that every person who engages in regulated conduct

also “intends thereby to express an idea.” United States v. O’Brien, 391

U.S. 367, 376 (1968). If regulated nonspeech conduct also contains a

speech element, the Court applies a four-part test to assess the law’s con-

stitutionality. Id. at 377. SB419 satisfies this standard.




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     As to the first two, SB419’s consumer-protection function falls

within Montana’s “constitutional authority” and furthers Montana’s

“substantial interests” in consumer protection. Id.; see, e.g., M.C.A. §§30-

14-101 et seq. Third, the consumer-protection interest here is “unrelated

to the suppression of free expression”; SB419 prohibits using TikTok

without respect to the messages it conveys. O’Brien, 391 U.S. at 376. Ra-

ther, the “perceived evil” SB419 targets is TikTok’s data harvesting and

sharing with the C.C.P.—harms that would justify regulating TikTok

were it a video app, dating app, or gaming app. Barnes v. Glen Theatre,

501 U.S. 560, 571 (1991). Montana’s purpose of protecting consumer

data, regardless of Plaintiffs’ allegations of “illicit motive[s],” controls.

City of Erie v. Pap’s A.M., 529 U.S. 277, 292 (2000).

     Finally, SB419’s restrictions are “no greater than is essential” to

furthering Montana’s interest in protecting Montanans’ data privacy.

O’Brien, 391 U.S. at 376. SB419 “need not be the least restrictive or least

intrusive means of” furthering that interest to survive intermediate scru-

tiny. Ward v. Rock Against Racism, 491 U.S. 781, 798 (1989); see id. at

797-98. Applying that standard, the Ninth Circuit rejected a claim that

mandatory school uniforms violated intermediate scrutiny because they



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limited students’ self-expression through clothing choices, holding that

the students retained “‘ample alternative channels’ for student commu-

nication.” Jacobs v. Clark Cnty. Sch. Dist., 526 F.3d 419, 437 (9th Cir.

2008). Even though that policy limited expression, students could “‘ex-

press themselves through other and traditional methods of communica-

tion throughout the school day,’” including through “verbal communica-

tions with other students, publish[ing] articles in school newspapers, and

join[ing] student clubs.” Id.

     SB419 survives intermediate scrutiny for the same reason. It’s like

the school’s uniform policy—limiting Montanans’ abilities to express

themselves via TikTok—but Montanans “may continue to express them-

selves through other and traditional methods of communication” by shar-

ing videos, memes, and every other kind of expressive content on every

other internet-based video or social-media platform. Properly under-

stood, SB419 is less restrictive than the uniform policy; because SB419

doesn’t affect any other app or part of the internet, it’s equivalent to pro-

scribing only ripped jeans. Thus, SB419 is “not a means to some greater

end, but an end in itself.” Barnes, 501 U.S. at 571; see supra nn.1-14.




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           3. SB419 satisfies intermediate and strict scru-
              tiny.

     Plaintiffs attack SB419 as a content-based speech restriction.

Those claims fail. This inquiry first asks whether the regulation is “con-

tent neutral on its face.” Reed v. Town of Gilbert, 576 U.S. 155, 165

(2015). If so, the pertinent question “is whether the government has

adopted a regulation of speech because of disagreement with the message

it conveys.” Ward, 491 U.S. at 791 (emphasis added). Any such regula-

tions are subject to strict scrutiny. Reed, 576 U.S. at 165. But “a regula-

tion that serves purposes unrelated to the content of expression is

deemed neutral,” Ward, 491 U.S. at 791, and need only satisfy interme-

diate scrutiny, Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 642 (1994).

     SB419 “regulate[s] the manner—not the content—of the affected

speech.” Lone Star Sec. & Video, Inc. v. City of Los Angeles, 827 F.3d

1192, 1200 (9th Cir. 2016). And it applies equally to all speech on the

platform. Id. It doesn’t prohibit TikTok “based on the type of infor-

mation” it conveys, Reed, 576 U.S. at 159, nor does it distinguish “be-

tween commercial and noncommercial forms of expression,” S.O.C., Inc.

v. Cnty. of Clark, 152 F.3d 1136, 1145 (9th Cir. 1998). “[T]here has been

no suggestion that [SB419] appl[]ies] differently to … political


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endorsements than to its commercial promotional campaigns.”            Lone

Star, 827 F.3d at 1200. Nor does SB419 prohibit only videos showing

“cars swerving at high speeds,” as Plaintiffs suggest.      TikTok.Br.7;

User.Br.10-11. SB419 doesn’t apply based only on an enforcer’s view of

a user’s message; it applies to the platform writ large. Foti v. City of

Menlo Park, 146 F.3d 629, 635-36 (9th Cir. 1998). Each of these points

to a content-neutral regulation.

     TikTok’s viewpoint-discrimination claim fails for these same rea-

sons. Nothing in SB419 regulates use of TikTok “because of disagree-

ment with the message,” Ward, 491 U.S. at 791, or disagreement with “a

particular view[]” of a subject, Rosenberger v. Rector & Visitors of Univ.

of Va., 515 U.S. 819, 829 (1995). SB419 regulates all content, viewpoints,

and speakers the same. Cf. id. at 830-31 (declaring unconstitutional the

withholding of funding for a student newspaper because it “promote[d] or

manifest[ed] a particular belief in or about a deity or ultimate reality”)

(cleaned up); R.A.V. v. St. Paul, 505 U.S. 377, 390 (1992) (declaring un-

constitutional a law prohibiting fighting words containing bias-motivated

hatred); Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508 U.S.

384, 393 (1993) (declaring unconstitutional a policy permitting



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presentations “about family issues and child rearing except those dealing

with the subject matter from a religious standpoint”). SB419 permits any

person to make any statement about any topic, even China. It just pro-

hibits one way they can make that statement. See Leathers v. Medlock,

499 U.S. 439, 444 (1991) (that one medium “is taxed differently from

other media does not by itself, however, raise First Amendment con-

cerns”).

            i. SB419 passes intermediate scrutiny.

      Because SB419 applies to all speech on TikTok no matter its sub-

stance or message, intermediate scrutiny applies. Educ. Ass’n v. Perry

Loc. Educators’ Ass’n, 460 U.S. 37, 45 (1983). Montana need only show

that the regulation is “narrowly tailored to serve a significant govern-

ment interest.” Id. It does both.

      Montana has a significant interest in its consumer-protection laws.

While TikTok accuses Montana of “mak[ing] a series of unsubstantiated

allegations,” TikTok.Br.9, SB419 reflects a broad concern over TikTok. 14


14 See Letter from TikTok Inc. to Senators Blumenthal and Blackburn (June 16,

2023), perma.cc/4WXM-VR24; TikTok: How Congress Can Safeguard American Data
Privacy and Protect Children from Online Harms, House Energy & Commerce, 118th
Congress (Mar. 23, 2023), perma.cc/JTE9-5GLK; Written Testimony of Geoffrey Cain
on Social Media’s Impact on Homeland Security, U.S House of Representatives,
Homeland Security and Governmental Affairs Committee (Sept. 14, 2022),

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The widespread bipartisan responses to all the news reports about Tik-

Tok belies TikTok’s claim that the Legislature was “fishing” for a justifi-

cation or that SB419 is based on “unfounded speculation.” TikTok.Br.20.

      SB419 is narrowly drawn. It doesn’t ban all “online platform[s] that

enable users to create, share, and view videos and other forms of content.”

TikTok.Br.2. Rather, it “eliminate[d] the exact source of the evil it sought

to remedy.” City of Los Angeles v. Taxpayers for Vincent, 466 U.S. 789,

808 (1984). Plaintiffs’ cases are inapposite. SB419 is like the school-

uniform policy in Jacobs—it regulates one channel of internet expression

but leaves all others untouched. Thus, it’s not a blanket prohibition on

creating, sharing, and viewing videos on every internet-based application

in the same way that Plaintiffs’ cases banned the speakers’ preferred me-

dium entirely. Cf. Schad v. Borough of Mount Ephraim, 452 U.S. 61, 75



https://www.hsgac.senate.gov/wp-content/uploads/imo/media/doc/Testimony-Cain-
2022-09-14.pdf; Biden signs TikTok ban for government devices, setting up a chaotic
2023 for the app, NBCNews (Dec. 30, 2022), perma.cc/4J7S-LGQS; Deputy attorney
general warns against using TikTok, citing data privacy, ABCNews (Feb. 16, 2023),
perma.cc/GKK7-BX9D; see also, e.g., Press Release, Senator Ed Markey, Amid Calls
to Ban TikTok, Senator Markey Calls for Immediate Action on Privacy Protections for
Children and Teens Online (Mar. 22, 2023), https://perma.cc/QTR7-HTGU; David
Shepardson, State AGs demand TikTok comply with US consumer protection investi-
gations, Reuters (Mar. 6, 2023), perma.cc/9NL6-2VPW; Justine McDaniel, Indiana
sues TikTok, claiming it exposes children to harmful content, Washington Post (Dec.
7, 2022), perma.cc/V2RV-AU3P.



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(1981) (all live entertainment); Martin v. City of Struthers, 319 U.S. 141,

142 (1943) (all door-to-door distribution of literature); City of Ladue v.

Gilleo, 512 U.S. 43, 56 (1994) (all residential yard signs).

           ii. SB419 passes strict scrutiny.

     Montana’s significant interest in consumer protection laws, estab-

lished above, is also a compelling interest. TikTok claims that the Legis-

lature “undertook no analysis regarding the efficacy of TikTok’s safety

features.” TikTok.Br.11. But the Legislature need not undertake an in-

vestigation before a court can recognize a compelling interest. See Reed,

576 U.S. at 171 (state only required to prove its compelling interest at

summary judgment). Second, Montana, like 45 other States, is investi-

gating TikTok’s safety and data-harvesting features. See supra n.16.

     TikTok also claims that Montana cannot legislate on issues “of na-

tional security,” and therefore it lacks a compelling interest.         Tik-

Tok.Br.9; see also User.Br.11. But even TikTok’s cited cases confirm that

states have an interest in national security. See Wash. Post v. McManus,

944 F.3d 506, 522 (4th Cir. 2019) (affirming district court’s conclusion

that Maryland has a “compelling interest in combatting foreign meddling

in U.S. elections” (internal quotations omitted)); see also Lawrence v.



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Texas, 539 U.S. 558, 585 (“Texas cannot assert any legitimate state in-

terest here, such as national security….”). There exists no interest “more

compelling than the security of the Nation.” Haig v. Agee, 453 U.S. 280,

307 (1981).

     For the reasons described above, SB419 is narrowly tailored. See

supra n.14.

              4. SB419 isn’t a prior restraint.

     SB419 also isn’t a prior restraint on speech.         The question is

whether the challenged law “authorizes suppression of speech in advance

of its expression.” Ward, 491 U.S. at 795 n.5. Plaintiffs can use any other

online video platforms and reach their “intended audience” using these

other platforms. One World One Fam. Now v. City & Cnty. of Honolulu,

76 F.3d 1009, 1014-15 (1996).

     That alone distinguishes U.S. WeChat Users All v. Trump. The dis-

trict court there rested its prior-restraint analysis on the fact that “there

are no viable substitute platforms or apps for the Chinese-speaking and

Chinese-American community.”         488 F.Supp.3d 912, 927 (N.D. Cal.

2020). Because “no options other than WeChat” existed, the plaintiffs

were foreclosed from communicating altogether. Id. In comparison,



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Plaintiffs have other alternatives, and they’ve provided no evidence they

will be entirely foreclosed from expressive activity. One World, 76 F.3d

at 1014-15.

     SB419 differs significantly from laws at issue in other prior re-

straint cases.   As discussed above, SB419 doesn’t prohibit “the only

means of communication” for an entire community. WeChat, 488

F.Supp.3d at 927. It also doesn’t create a permitting regime or require

preapproval from officials. See, e.g., Forsyth Cnty. v. Nationalist Move-

ment, 505 U.S. 123, 130 (1992). Nor does it give the Montana Department

of Justice discretion over whether certain speech violates SB419. See,

e.g., Cantwell v. Connecticut, 310 U.S. 296, 305 (1940). Because SB419

doesn’t foreclose a community from speaking, establish a permitting

scheme, or give discretion to any enforcement authority, it isn’t a prior

restraint.

             5. SB419 isn’t overbroad.

     Plaintiffs make a passing argument that SB419 is facially over-

broad because it prohibits a medium of communication. TikTok.Br.16;

Users.Br.13. But that requires a showing of real and substantial over-

breadth “judged in relation to the statute’s plainly legitimate sweep.”



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Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973). As discussed above,

unlike Plaintiffs’ cited cases, SB419 doesn’t foreclose an entire medium.

It doesn’t prohibit sharing any online videos, like a prohibition on all cor-

porate contributions to ballot initiatives, Mont. Chamber of Com. v. Ar-

genbright, 28 F.Supp.2d 593, 594 (D. Mont. 1998), or a prohibition of

“every sort of circulation” of printed materials without a permit, Lovell v.

City of Griffin, 303 U.S. 444, 451 (1938). SB419 governs only one channel

for sharing videos; Plaintiffs may speak freely on any other “online plat-

forms that enable[e] users to create, share, and view videos and other

forms of content.” TikTok.Br.2. Montana’s targeted concern is TikTok’s

failure to protect user data from the Chinese government, not any broad

concern over sharing videos online. SB419, therefore, accomplishes its

precise goal while still permitting robust speech on every other platform.

     B. SB419 Isn’t Preempted by Federal Law.

           1. SB419 isn’t preempted under the foreign affairs
              doctrine.

     Under the foreign affairs doctrine, a “state law must give way

where … there is evidence of a clear conflict between the policies” adopted

by the federal government and by a state on issues “within the traditional

subject matter of foreign policy.” Am. Ins. Ass’n v. Garamendi, 539 U.S.


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396, 421 (2003). Garamendi shows how conflict preemption works: the

Court held California’s Holocaust Victim Insurance Relief Act preempted

because it conflicted with how the “Executive Branch” had “in fact ad-

dressed” and “formalized” the “issue of restitution for Nazi war crimes”

via “treaties and executive agreements over the last half century.” Id.

Nothing close to that kind of “clear conflict” exists between SB419 and

any affirmative federal position on TikTok or ByteDance. On the con-

trary, SB419 aligns with both federal law and Presidential foreign policy.

See 15 C.F.R. §7.4(a)(1); Executive Order 14034, 86 Fed. Reg. 31423

(June 9, 2021) (“E.O. 14034”). The Court needn’t take Defendant’s word

for it; neither Plaintiff invokes foreign-affairs conflict preemption.

        Instead, Plaintiffs contend that SB419 violates a “concept” the

Ninth Circuit calls foreign affairs “field preemption.” Movsesian v. Vic-

toria Versicherung AG, 670 F.3d 1067, 1072 (9th Cir. 2012) (en banc).

Relying on a footnote in Garamendi and Zschernig v. Miller, 389 U.S. 429

(1968), Movsesian suggests that “field preemption may be appropriate

when a state intrudes on a matter of foreign policy with no real claim to

be addressing an area of traditional state responsibility.” 670 F.3d at

1075.     Whatever this doctrine’s vitality—the Supreme Court hasn’t



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squarely adopted it, see Garamendi, 529 U.S. at 419-20 & n.11—it does

Plaintiffs no good here because they fail to make either showing.

     First, SB419 is a “consumer-protection law[],” so it “fall[s] in an

area that is traditionally within the state’s police powers to protect its

own citizens.” Aguayo v. U.S. Bank, 653 F.3d 912, 917 (9th Cir. 2011);

see generally M.C.A. §§30-14-101 et seq. (Montana Unfair Trade Con-

sumer and Consumer Protection Act). The tsunami of reporting about

TikTok’s data-harvesting and storing practices amply justifies SB419 as

a proper exercise of Montana’s consumer-protection police powers. See

supra nn.1-14 (reporting TikTok misled consumers about data security).

     Plaintiffs don’t dispute Montana’s traditional police power to pro-

tect its consumers. Rather, they contend that SB419’s “real purpose” is

to “regulate U.S. relations with China.” Users.Br.20; see TikTok.Br.20.

Not so. SB419 regulates TikTok’s operations in Montana to protect Mon-

tanans’ privacy.

     Nothing Plaintiffs cite to support their view of SB419’s purported

“true purpose” undermines this conclusion. Plaintiffs rely mostly on text

in SB419’s preamble and statements in legislative hearings. But those

statements merely reiterate facts of record. The federal government



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already determined that China is a “foreign adversary.”          15 C.F.R.

§7.4(a)(1). And the President already determined that China has ac-

cessed “large repositories of United States persons’ data.” E.O. 14034.

TikTok is a subsidiary of a Chinese corporation. Compare SB419 (“Tik-

Tok is a wholly owned subsidiary of ByteDance, a Chinese corporation.”)

with About, ByteDance, https://perma.cc/P2N9-WWGX (ByteDance is a

Chinese company headquartered in Beijing); compare SB419 (TikTok

“may allow the People’s Republic of China to track the real-time locations

of … individuals adverse to the [CCP]’s interests”) with supra n.16 (Let-

ter to Senators Blumenthal and Blackburn), at 1 (admitting some TikTok

data is stored in China). By reciting these facts, Montana neither made

political judgments nor “express[ed]” any “distinct political point of view”

about the treatment of China or its political arms nor “address[ed] foreign

relations.” Movsesian, 670 F.3d at 1076. So SB419 doesn’t require this

Court to undertake “a highly politicized inquiry into the conduct of a for-

eign nation.” Id. at 1076.

     User Plaintiffs assert that SB419 was “intended to send a political

message.” Users.Br.21. But Plaintiffs’ only evidence is a single state-

ment by a single legislator.     See id.   And the Supreme Court has



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repeatedly cautioned against imputing intent of one legislator to the en-

tire legislative body. E.g., United States v. O’Brien, 391 U.S. 367, 384

(1968); United States v. Carrillo-Lopez, 68 F.4th 1133, 1140 (9th Cir.

2023). Plaintiffs cannot overcome their heavy burden by citing one legis-

lative remark.

     Second, Plaintiffs fail to establish that SB419 “intrudes on a matter

of foreign policy.” Movsesian, 670 F.3d at 1075. To make this showing,

Plaintiffs must prove that SB419 “has ‘more than some incidental or in-

direct effect’ on foreign affairs.” Id. at 1076 (quoting Zschernig, 389 U.S.

at 441). That is, SB419 must “ha[ve] a direct impact upon foreign rela-

tions and may well adversely affect the power of the central government

to deal with those problems.” Id. at 1076-77.

     Plaintiffs fall well short. They argue that SB419’s preamble men-

tions China and therefore arrogates to Montana power reserved for the

federal government. That’s a far cry from the kinds of “direct impact[s]

upon foreign relations” that courts have held sufficient to establish

preemption. Zschernig, for example, held that Oregon’s law preventing

East German citizens from inheriting personal property was preempted

because to implement that law, Oregon’s probate courts had for over a



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decade engaged in “minute inquiries concerning the actual administra-

tion of foreign law [and] into the credibility of foreign diplomatic state-

ments.” 389 U.S. at 435. Movsesian held a California law preempted

because it “establishe[d] a particular foreign policy for California—one

that decries the actions of the Ottoman Empire and seeks redress for ‘Ar-

menian Genocide victim[s]’ by subjecting foreign insurance companies to

lawsuits in California.” 670 F.3d at 1076. And the Ninth Circuit held

another California law preempted because it would have “require[d] Cal-

ifornia courts to review acts of restitution made by foreign governments”

to victims of Nazi war crimes. Von Saher v. Norton Simon Museum of

Art, 592 F.3d 954, 967 (9th Cir. 2010).

     Plaintiffs provide no comparable evidence of similar impacts. One

legislative statement and the text of the law’s preamble aren’t the kind

of state intrusion on foreign affairs sufficient to subject SB419 to any

field-preemption component of the foreign-affairs doctrine.

           2. SB419 isn’t preempted by the IEEPA or the
              DPA.

     Plaintiffs next assert that SB419 “‘stands as an obstacle to the ac-

complishment and execution of the full purposes and objectives of Con-

gress’” in the International Emergency Economic Power Act (IEEPA) and


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the Defense Production Act (DPA) and is thus preempted. Not so. Even

obstacle-preemption cases “start with the assumption that the historic

police powers of the States were not to be superseded by the Federal Act

unless that was the clear and manifest purpose of Congress.” Wyeth v.

Levine, 555 U.S. 555, 565 (2009) (cleaned up). From there, obstacle-

preemption claims require courts to “examin[e] the federal statute as a

whole” and identify both “its purpose and intended effects.” Crosby v.

Nat’l Foreign Trade Council, 530 U.S. 363, 372-73 (2000).

           i. SB419 doesn’t interfere with IEEPA’s purpose
              or intended effects.

     IEEPA gives the President peacetime authority to “deal with any

unusual and extraordinary threat, which has its source in whole or sub-

stantial part outside the United States, to the national security, foreign

policy, or economy of the United States, if the President declares a na-

tional emergency with respect to such threat.” 50 U.S.C. §1701(a). After

declaring an emergency, the President can “investigate, regulate, or pro-

hibit” specific and limited economic transactions. Id. §1702(a)(1)(A). The

President can also block “any right, power, or privilege” in “any property

in which any foreign country or a national thereof has any interest by

any person.” Id. §1702(a)(1)(B). But the President may not “regulate or


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prohibit, directly or indirectly … any postal, telegraphic, telephonic, or

other personal communication, which does not involve a transfer of any-

thing of value” or the importation or exportation of “any information or

informational materials.” Id. §1702(b)(1), (3). If the President seeks to

regulate these activities, he must rely on a source of authority other than

IEEPA.

     Citing Crosby, Plaintiffs argue that §1702(b)’s prohibition on the

President’s regulating informational materials means that states cannot

regulate those materials, either. This misstates the issue: SB419 is a

consumer-protection regulation of a product because of its detrimental

effects on Montanans’ digital privacy. Even so, Crosby doesn’t help Plain-

tiffs. There, Congress spoke directly to the President’s authority “over

economic sanctions against Burma,” 530 U.S. at 374, and the Court de-

termined that a Massachusetts law—which also imposed economic sanc-

tions against Burma—conflicted with the federal law and hampered Con-

gress’s objective, id. at 377-78. Unlike Massachusetts, which sought to

impose sanctions directly on a foreign country, Montana regulates a prod-

uct that operates within Montana’s borders to protect its consumers. To

be sure, SB419 responds to concerns raised about Chinese access to



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Montanans’ private data, but it doesn’t impose any burden on China it-

self—unless TikTok is arguing that to regulate TikTok is to regulate

China. Second, the federal law in Crosby directly regulated Burma, but

IEEPA doesn’t directly regulate China. Instead, it gives the President

authority to act in some cases subject to certain exceptions. SB419 fits

comfortably within the scope of activity that IEEPA leaves untouched.

      TikTok’s prior litigation positions about IEEPA suggest it doesn’t

really believe this argument, anyway. TikTok challenged the President’s

authority to regulate TikTok under IEEPA. See Compl., TikTok Inc. v.

Trump, 20-cv-2658 (D.D.C. filed Sept. 18, 2020).15 There, TikTok argued

that it “does not provide the type of technology and services contem-

plated” by the Executive Order issued under IEEPA. Id. ¶116 (citing

Executive Order 13873, 84 Fed. Reg. 22,689 (May 17, 2019)). TikTok fur-

ther argued that the Executive Order was “a gross misappropriation of

IEEPA authority” because IEEPA bars “executive regulation of personal

communications or the transmission of information or informational ma-

terials.” Id. ¶3. The district court accepted those arguments, concluding

that Plaintiffs were “likely to succeed on their claim that the prohibitions



15 See Marland v. Trump, 498 F.Supp.3d 624, 636-37 (E.D. Pa. 2020).



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constitute indirect regulations of ‘personal communication[s]’ or the ex-

change of ‘information or informational materials.’”       TikTok Inc. v.

Trump, 490 F.Supp.3d 73, 83 (D.D.C. 2020). In other words, Plaintiffs

got a district court to order that the President lacks authority under

IEEPA to do what Plaintiffs now claim is within “the President’s discre-

tion to respond to foreign threats” under IEEPA. Compare TikTok.Br.23,

with Compl., TikTok Inc. v. Trump, 20-cv-2658 (D.D.C. filed Sept. 18,

2020). TikTok’s apparent position is it cannot be regulated—by anyone.

     Given Plaintiffs’ prior litigation success, they’re now judicially es-

topped from making this argument. Judicial estoppel prevents parties

from “playing fast and loose with the courts.” Scarano v. Cent. R. Co.,

203 F.2d 510, 513 (3d Cir. 1953) (internal quotations omitted). It pre-

cludes parties from (1) taking a position inconsistent with (2) a position

on an issue on which the party previously succeeded (3) when it will give

that party an unfair advantage. New Hampshire v. Maine, 532 U.S. 742,

750 (2001). That describes precisely TikTok’s current circumstances. By

previously interpreting the scope of the Executive’s authority narrowly,

TikTok successfully evaded federal regulation under IEEPA; and now by

asking this Court to interpret the scope of the Executive’s authority



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broadly, TikTok seeks to evade state regulation. TikTok thinks it wins,

heads or tails.16 This is precisely the type of unseemly litigation games-

manship that judicial estoppel thwarts.

             ii. SB419 doesn’t interfere with the DPA’s pur-
                 poses or intended effects.

      Plaintiffs also assert that because the federal government is nego-

tiating with TikTok about a national security risk, the DPA prevents

States from regulating in this space at all. Users.Br.24; TikTok.Br.21. It

doesn’t.

      Congress’s purpose in enacting the DPA, see Wyeth, 555 U.S. at 566,

appears in the statute itself: the DPA “promote[s] industrial resources

preparedness,” “support[s] continuing improvements in industrial effi-

ciency,” “provide[s] for the protection and restoration of domestic critical

infrastructure operations under emergency conditions,” and “respond[s]

to actions taken outside of the United States that could result in reduced

supplies of strategic and critical materials.” 50 U.S.C. §4502(a)(1). To

further those goals, the DPA grants the President “an array of authorities

to shape national defense preparedness programs and to take


16 Individual Plaintiffs’ litigation is funded by TikTok, so TikTok cannot further im-

munize itself by paying other litigants to raise arguments that TikTok itself is es-
topped from making.

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appropriate steps to maintain and enhance the domestic industrial base.”

Id. §4502(a)(4). The DPA also delegates certain authority to the Commit-

tee on Foreign Investment in the United States (CFIUS), which reviews

“covered transactions” that “could result in foreign control of any person

engaged in interstate commerce in the United States.” Id. §2170(a)(3);

id. §4565(b)(2)(A). CFIUS then can refer the transaction to the President

for further action. Id. §4565(b)(1)(A).

     Plaintiffs fail to articulate their precise theory of conflict preemp-

tion under the DPA. No matter; SB419 doesn’t “obstruct the purposes

and objectives” of the DPA. Wyeth, 555 U.S. at 573. First, §721 applies

only to “covered transactions.” 50 U.S.C. §4565(b)(2)(A). Plaintiffs iden-

tify no transaction at issue, let alone a “covered transaction” under §721.

Plaintiffs allude to negotiations between the federal government and Tik-

Tok in TikTok Inc. v. CFIUS where TikTok sought review of Presidential

Proclamation No. 10061, 85 Fed. Reg. 51297 (Aug. 14, 2020). There, Pres-

ident Trump ordered ByteDance to divest certain assets “used to enable

or support ByteDance’s operation of the TikTok application in the United

States” and “any data obtained or derived from TikTok application or

Musical.ly application users in the United States.” 85 Fed. Reg. at 51297.



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In that litigation, though, TikTok asserted that the “covered transaction”

at issue “did not include the core technology or other aspects of the Tik-

Tok business.” TikTok Inc. v. CFIUS, No. 20-1444, Doc. #1870778, at *2-

3 (D.C. Cir. Nov. 10, 2020). SB419 doesn’t interfere with these ongoing

negotiations, particularly since by TikTok’s own terms, the negotiations

don’t involve TikTok’s technology or business. Id.

     If Congress intended to preclude any state regulation of a business

that was simultaneously being investigated by CFIUS, “it surely would

have enacted an express pre-emption provision.” Wyeth, 555. U.S. at 574.

And whatever the outcome of those negotiations, SB419 won’t conflict

with them. If Plaintiffs prevail, the President and CFIUS cannot prohibit

the ByteDance and Musical.ly transaction. See TikTok Inc., No. 20-1444,

Doc. #1870778. Or if the federal government prevails, TikTok will need

to divest certain assets. Either way, TikTok can still comply with SB419.

See Wyeth, 555 U.S. at 573.

     That conclusion follows Crosby where Massachusetts’s law barred

doing business with Burma—the same problem addressed by the federal

sanctions. 530 U.S. at 367, 379-80. The applicability of the DPA is only

triggered by the ByteDance and Musical.ly transaction. And as TikTok



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itself has made clear, this is unrelated to TikTok’s operations. TikTok

Inc., No. 20-1444, Doc. #1870778, at *2-3. Any future agreements be-

tween the federal government and TikTok cannot preempt today an oth-

erwise valid state law. See Crosby, 530 U.S. at 367.

     C. SB419 Doesn’t Violate the Commerce Clause.

     Finally, Plaintiffs argue that SB419 violates the dormant Com-

merce Clause. TikTok.Br.23-26; Users.Br.25-26. TikTok contends that

SB419 imposes burdens that “disproportionately fall on non-Montanan

TikTok users.” TikTok.Br.23. User Plaintiffs contend that TikTok is a

critical cross-border instrumentality much like this nation’s railroad sys-

tem. Users.Br. 25. Plaintiffs seem to take divergent views on the essence

of the commerce at issue. TikTok suggests that the problem is one of

access—the application itself is the commodity. TikTok.Br.24. User

Plaintiffs, on the other hand, identify the problem as SB419’s “re-

strict[ing] the distribution of information across state lines.”       Us-

ers.Br.25. In other words, TikTok isn’t the product, as TikTok suggests,

but an instrumentality used to transport information or other products.

Id. This distinction matters—much of dormant Commerce Clause juris-

prudence is reasoned through “analogue.” Am. Trucking Ass’n, Inc. v.



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Mich. Pub. Serv. Comm’n, 545 U.S. 429, 439 (2005) (Scalia, J., concur-

ring). But neither view can be squared with the law.

     The Commerce Clause implicitly limits the states’ authority to en-

act legislation about interstate commerce. S. Pac. Co. v. Arizona, 325

U.S. 761, 769 (1945). Courts approach this give-and-take in a “two-tiered

approach.” Brown-Forman Distillers Corp. v. N.Y. State Liquor Auth.,

476 U.S. 573, 578-79 (1986). If a state “directly regulates” interstate com-

merce or “favor[s] in-state economic interests over out-of-state interests,”

the law likely violates the Commerce Clause. Id. at 578-79. But when a

state law “regulates even-handedly” and has an “indirect effect[t]” on in-

terstate commerce, courts must balance the state’s legitimate interests

against the burden imposed. Pike v. Bruce Church, Inc., 397 U.S. 137,

142 (1970). SB419 regulates intrastate activity—it expressly prohibits

the operation of TikTok “within the territorial jurisdiction of Montana.”

SB419, §1. The only question, then, is whether it has an indirect effect

on interstate commerce that outweighs Montana’s interests in protecting

user data.

     Consider TikTok’s framing. TikTok relies on Pike, asserting that

“non-Montanan TikTok users” will have to share “more data with



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TikTok.”   TikTok.Br.23-24.    The gravamen of this argument is that

SB419 effectively regulates commerce outside of Montana. But if TikTok

really is making an extraterritorial-effects argument, the facts here con-

flict with those in cases invalidating state laws on this ground. See, e.g.,

Brown-Forman, 476 U.S. at 579 (prohibiting sellers from selling at a price

lower than the posted price). And the Ninth Circuit has limited the ex-

traterritoriality principle to statutes that expressly dictate the price of

products and tie in-state prices to out-of-state prices. See Ass’n des Elev-

eurs de Canards et d’Oies du Quebec v. Harris, 729 F.3d 937, 951 (9th Cir.

2013); Nat’l Pork Producers Council v. Ross, 6 F.4th 1021, 1028 (9th Cir.

2021).

     SB419’s prohibition on operating TikTok “does not dictate the price

of a product and does not tie the price of its in-state products to out-of-

state prices.” Eleveurs, 729 F.3d at 951. State laws that regulate only

intrastate conduct don’t have impermissible extraterritorial effects. Nat’l

Pork Producers Council, 143 S. Ct. 1154, 1154 (2023) (requiring “purpose-

ful discrimination against out-of-state economic interests”); see also Mor-

rison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 255 (2010) (“When a




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statute gives no clear indication of an extraterritorial application, it has

none.”).

     If TikTok is making an undue burden argument, its dismissal of

Montana’s concerns as “conjecture” fails to grapple with the abundance

of evidence that TikTok poses harm to users. TikTok.Br.23-24; see supra

nn.1-16. TikTok also merely asserts that out-of-state users will have to

share more data with TikTok. TikTok.Br.23-24. Because this line of ar-

gument requires the Court to balance Montana’s interests with the bur-

den imposed, TikTok’s cursory treatment only undermines their argu-

ment. See Pike, 397 U.S. at 142. TikTok provides no authority, nor does

any exist, for resolving whether Montana’s concerns about the harms

from TikTok’s operating within Montana outweigh TikTok’s unsupported

allegation that users will “be required to share more data,” Users.Br.24.

See Pork Producers, 143 S. Ct. at 1160; Bendix Autolite Corp. v. Midwesco

Enterprises, Inc., 486 U.S. 888, 897 (1988) (Scalia, J., concurring in judg-

ment). Legislatures, not courts, “are entitled to weigh the relevant ‘po-

litical and economic’ costs and benefits for themselves.” Pork Producers,

143 S. Ct. at 1160 (quoting Moorman Mfg. Co. v. Bair, 437 U.S. 267, 279




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(1978)). Plaintiffs’ Pike-balancing argument fail to show that SB419 im-

poses a substantial burden on out-of-state TikTok users. Id. at 1161.

     User Plaintiffs frame the commerce question differently by treating

the platform as an instrumentality, but their Pike claim similarly fails.

Users.Br.25-26.

     Because User Plaintiffs see the platform as an instrumentality,

they focus on the “distribution of information across state lines.” Us-

ers.Br.25. None of their cited cases support this argument. Bigelow v.

Virginia involved a First Amendment challenge to Virginia’s law prohib-

iting the “sale or circulation of any publication, to encourage or prompt

the procuring of an abortion.” 421 U.S. 809, 811 (1975). More to the

point, the User’s selective quote is misleading—the Court said that a

State cannot “bar a citizen of another State from disseminating infor-

mation about an activity that is legal in that State.” Id. at 824-25 (em-

phasis added). SB419 doesn’t prohibit the circulation of information

about legal activities outside of Montana. It prohibits the use of TikTok—

the instrumentality—in Montana to circulate that information. Doe v.

Deschamps is inapplicable for the same reasons. 461 F.Supp. 682, 688-

89 (D. Mont. 1976).      In ACLU v. Johnson, a law prohibited the



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“[d]issemination of material that is harmful to a minor.” 194 F.3d 1149,

1151 (10th Cir. 1999).

     Each of these cases involved a prohibition on the information it-

self—harmful content. In contrast, SB419 prohibits the use of the instru-

mentality. SB419 would be analogous to the cases that User Plaintiffs

cite only if it prohibited information from being shared about the People’s

Republic of China or by members of the C.C.P. or, more broadly, if it pro-

hibited material harmful to minor children, as discussed above. SB419

doesn’t restrict content.

     The few cases in which the Supreme Court has overturned nondis-

criminatory restrictions on commerce involved a barrier to the physical,

interstate movement of vehicles transporting goods. See, e.g., Bibb v.

Navajo Freight Lines, Inc., 359 U.S. 520, 521 (1959); Raymond Motor

Transp., Inc. v. Rice, 434 U.S. 429, 450 (1978).

     Courts have hesitated to expand this narrow class of cases, and

Plaintiffs provide no support for doing so today. Cf. Raymond Motor

Transp., Inc., 434 U.S. at 450 (“overwhelming empirical data” about the

burdens); Bibb, 359 U.S. at 521 (“massive showing” of actual costs of bur-

den on interstate commerce).       In SPGGC, LLC v. Blumenthal, for



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example, the Second Circuit upheld a law that regulated gift cards sold

via the internet by eliminating fees and expiration dates. 505 F.3d 183,

187 (2d Cir. 2007). The court found Bibb inapplicable because the plain-

tiff could not show the state law “impede[d] the interstate movement of

gift cards subject to different terms and conditions.” Id. at 196. It added

that the sellers had a near-perfect ways to distinguish between online

consumers who resided in Connecticut and those who resided elsewhere.

Id. at 195. SB419 similarly doesn’t impede the interstate movement of

information, and there are near-perfect ways to determine whether the

application is operating in Montana.

     Whether TikTok is a product or an instrumentality, Plaintiffs fail

to show they are likely to succeed on their Commerce Clause claim.

II. The Remaining Factors Do Not Weigh in Plaintiffs’ Fa-
    vor.

     A. Plaintiffs Have Not Shown Immediate Irreparable
        Harm to Support Preliminary Relief.

     Plaintiffs assert two theories of irreparable harm. First, they con-

tend that they suffer a First Amendment injury. See TikTok.Br.26; Us-

ers.Br.27. But “the mere assertion of First Amendment rights does not

automatically require a finding of irreparable injury.” CTIA-The Wireless



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Ass’n v. City of Berkeley, 928 F.3d 832, 851 (9th Cir. 2019). Indeed, Plain-

tiffs must “sufficiently demonstrat[e] a probability of success on the mer-

its,” which they fail to do. Elrod v. Burns, 427 U.S. 347, 374 (1976). They

must also show the injury was “both threatened and occurring at the

time.” Id. . SB419’s delayed effective date of January 1, 2024, under-

mines Plaintiffs’ claim of imminent harm.

     Plaintiffs next assert irreparable economic harm. TikTok.Br.27

(describing “business” damage and “erosion” to “competitive position”);

Users.Br.27. But Users Plaintiffs’ harms are speculative—they fail to

sufficiently show what monetary harm they might suffer if they use a

different online video platform. See Winter, 555 U.S. at 22 (“Issuing a

preliminary injunction based only on a possibility of irreparable harm is

inconsistent with our characterization of injunctive relief as an extraor-

dinary remedy[.]”).

     B. The Balance of the Equities and Public Interest Fa-
        vor Montana.

     Finally, the balance of equities favors Montana. The federal gov-

ernment has already determined that China is a foreign adversary. 15

C.F.R. §7.4(a)(1). And the concerns with TikTok are well documented at

both the state and federal level, Democrat and Republican.          SB419,


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therefore, furthers the public interest because it protects the public from

the harms inseparable from TikTok’s operation.

                              CONCLUSION

     For these reasons, the Court should deny Plaintiffs’ motions.

     DATED this 18th day of August, 2023.

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                      CERTIFICATE OF COMPLIANCE

           Pursuant to Rule Local Rule 7.1(d)(2), I certify that this brief

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                                   /s/ Christian B. Corrigan
                                   CHRISTIAN B. CORRIGAN




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     I hereby certify that on this date, an accurate copy of the foregoing

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on registered counsel.

Dated: August 18, 2023             /s/ Christian B. Corrigan
                                   CHRISTIAN B. CORRIGAN




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